       Case 3:11-cr-01448-MMA                         Document 1665               Filed 04/10/14        PageID.6360          Page 1 of
                                                                             3

    ~o 245D (CASD) (Rev. 1112) Judgment in a Criminal Case for Revocations

               Sheet I
                                                                                                                            FILED
                                                                                                                           APR .10 2014
                                            UNITED STATES DISTRICT COURT}                                                                      ,,"It

                                                                                                                      CLERK, U.S.  TRICT COURT '
                                                 SOUTHERN DISTRICT OF CALIFORNIA                                   SOUTHERN OIST J T OF CAUFQ1i\NIA
                                                                                                                  BY                       DEPUTY
                   UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                       V.                                        (For Revocation of Probation or Supervised Release)
                                                                                 (For Offenses Committed On or After November 1, 1987)
                   GAUTHIER KAMBANDA (27)

                                                                                 Case Number: 1ICR1448-MMA

                                                                                 Lupe C. Rodriguez
                                                                                 Defendant's Attorney
    REGISTRAnON No. 25436298
o   THE DEFENDANT:
     o  admitted guilt to violation ofallegation(s) No.,..;;l_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     o was found in violation of allegation(s) No. _ _ _ _ _ _ _ _ _ _ _ _ _after denial of guilt.
    ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following alIegation(s):


    AIle2ation Number                     Nature of Violation
                             Failure to report to USPO (US Probation Office) upon release from custody (nv5)




      Supervised Release       is revoked and the defendant is sentenced as provided in pages 2 through           3     of this judgment.
    This sentence is imposed pursuant to the Sentencing Refonn Act of 1984.


             IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notifY the court and Umted States Attorney of any material' change in the
    defendant's economic circumstances.




                                                                                 HaN. MICHAEL M. ANELLO
                                                                                 UNITED STATES DISTRICT JUDGE




                                                                                                                           lICRl448-MMA
      Case 3:11-cr-01448-MMA                           Document 1665              Filed 04/10/14      PageID.6361             Page 2 of
                                                                              3
AO 2450 (CASD) (Rev. 1112) Judgment in a Criminal Case for Revocations
           Sheet 2 - Imprisonment

                                                                                                   Judgment -   Page _..;;;2_ of    3
 DEFENDANT: GAUTHIER KAMBANDA (27)
 CASE NUMBER: IICRI448-MMA
                                                                  IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         THIRTEEN (13) MONTHS




    o The court makes the following recommendations to the Bureau of Prisons:

     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
            Oat                                        Oa.m.         Op·m.    on _ _ _ _ _ _ _ _ _ _ __
                as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o before ----------------------------------
           o as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                                         RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                        to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                               UNITED STATES MARSHAL

                                                                             By
                                                                                            DEPUTY UNITED STATES MARSHAL




                                                                                                                            IICR1448-MMA
          Case 3:11-cr-01448-MMA                      Document 1665                 Filed 04/10/14            PageID.6362              Page 3 of
                                                                               3
AO 2450 (CASO) (Rev. 1112) Judgment in a Criminal Case for Revocations
           Sheet 3 - Supervised Release
                                                                                                               Judgment-Page ---l- of _ _3:;.....__
DEFENDANT: GAUTHIER KAMBANDA (27)                                                                      D
CASE NUMBER: llCRl448-MMA
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
NO SUPERVISED RELEASE TO FOLLOW

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within I S days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_drug tests per month during
the term of supervision, unless otherwise ordered by court.

o       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicab Ie.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
        The defendant shall comply with me requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifying offense. (Check if applicable.)
o       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
   I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 II)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.

                                                                                                                                        llCRl448-MMA
